                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

SHALON LOWE,                                   )
                                               )
                               Plaintiff,      )
                                               )              Case No. 4:21-cv-224
        v.                                     )
                                               )
THE CHEESECAKE FACTORY                         )
RESTAURANTS, INC.,                             )
                                               )
                               Defendant.      )

                                    NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant The Cheesecake Factory

Restaurants, Inc. (“Defendant”) appears for the purpose of removing to the United States District

Court for the Western District of Missouri the action styled Shalon Lowe v. The Cheesecake

Factory Restaurants, Inc., Case No. 2016-CV26264, currently pending in the Circuit Court of

Jackson County, Missouri. Defendant removes this case on grounds of diversity jurisdiction under

28 U.S.C. § 1441. In support of its Notice of Removal, Defendant states:

        1.      Plaintiff commenced the above-captioned action in the Circuit Court of Jackson

County, Missouri on December 18, 2020, by filing her Petition in the case styled Shalon Lowe v.

The Cheesecake Factory Restaurants, Inc., Case No. 2016-CV26264.

        2.      Plaintiff’s Petition purports to assert claims for race discrimination and retaliation

in violation of the Missouri Human Rights Act (“MHRA”).

        3.      Plaintiff served Defendant with a summons and a copy of the Petition on March 12,

2021, which is attached as Exhibit A.

        4.      A Copy of the Circuit Court file is attached as Exhibit B to this Notice of Removal.

        5.      Under §§ 1441 and 1446, removal is timely if filed within 30 days after a defendant

is served with a summons and the initial pleading.


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        6.      Defendant is timely filing this removal, within 30 days of service.

                                         Diversity Jurisdiction
        7.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 by reason

of complete diversity jurisdiction between the parties.

        8.      According to Plaintiff’s Petition, she is a citizen of and resides in Missouri. Pet. ¶

1.

        9.      Further, Plaintiff acknowledges that: “Defendant is a foreign corporation with a

principal place of business in the State of California.” Pet. ¶ 4.

        10.     Indeed, Defendant is incorporated in California and maintains its principal place of

business in California. Exhibit C, Declaration of Acaya. Thus, Defendant is a citizen of California

for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1); Hertz Corp. v. Friend, 559 U.S. 77

(2010) (holding that a corporation’s principal place of business is generally where its headquarters

is located).

        11.     Accordingly, there is complete diversity of citizenship.

                                        Amount in Controversy
        12.     Although Plaintiff does not plead a specific amount of damages (and Defendant

denies Plaintiff’s allegations and its liability), the amount in controversy claimed by Plaintiff

exceeds $75,000.00, exclusive of interest and costs.

        13.     The standard for determining whether a plaintiff’s claim meets the amount in

controversy is “whether the fact finder might legally conclude” that a plaintiff’s damages are

greater than $75,000.00. Quinn v. Kimble, 228 F. Supp. 2d 1038, 1040 (E.D. Mo. 2002).

        14.     The Court is not bound by amounts stated in the Petition when determining the

amount in controversy. See O’Keefe v. Midwest Transit, Inc., No. 4:06 CV 1060 DDN, 2006 WL

2672992, at *1 (E.D. Mo. Sept. 18, 2006) (holding “[a]ny amounts stated in the petition are not

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determinative, and the court must look to the substance of the claim to determine if federal

jurisdiction is present); see also Rodgers v. Wolfe, No. 4:05 CV 01600 ERW, 2006 WL 335716,

at *3 (E.D. Mo. Feb. 14, 2006) (holding “the amount stated in the petition is not determinative. It

is the substance of the claim, not the conclusory recitation of its worth, that will determine if federal

jurisdiction is extant.”).

        15.     Courts consider compensatory damages, punitive damages, and attorneys’ fees in

determining whether the amount in controversy exceeds $75,000.00. See Allison v. Sec. Ben. Life

Ins. Co., 980 F.2d 1213, 1215 (8th Cir. 1992); Capital Indem. Corp. v. Miles, 978 F.2d 437, 438

(8th Cir. 1992).

        16.     Plaintiff’s alleged damages include “loss of income, loss of income opportunities,”

“emotional distress,” and “related compensatory damages,” as well as punitive damages and

attorneys’ fees. Pet. ¶¶ 51, 57, 58, 60, 66, 67, 69.

        17.     Certainly, an award of damages for lost income, loss of income opportunities,

emotional distress, punitive damages, costs, expenses, and attorneys’ fees could exceed

$75,000.00.

        18.     Plaintiff gives no indication of her lost income or opportunities but, notably, the

MHRA contains no cap for back pay damages. Mo. Rev. Stat. § 213.111.4. Other damages,

including punitive damages but excluding back pay damages, are capped between $50,000 and

$500,000, depending on the size of the employer. Id. There is not, however, any cap on attorneys’

fees. Id. Fee awards in Missouri discrimination cases can exceed $75,000 by themselves:

                       Lawrence v. CNF Transp., No. 4-99-CV-00794-HFS, Doc. 124 (W.D. Mo.
                        Mar. 12, 2002) (order awarding plaintiff $83,081.00 in attorneys’ fees as
                        prevailing party in discrimination case);

                       Lee v. Consolidated Freightways, No. 99-1227-SOW, Doc. 131 (W.D. Mo.
                        Aug. 14, 2002) (order awarding plaintiff $112,430 in attorneys’ fees in


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                       discrimination case).

        19.     Further, recent jury verdicts for plaintiffs for MHRA claims exceeded $75,000.00:

                      Johnson v. Cty of Kansas Cty, Mo., No. 1616CV08470, 2019 WL 4052340
                       (Cir. Ct. of Jackson Cnty., Mo. Apr. 5, 2019) (awarding $55,000 in
                       compensatory damages, $75,000 in punitive damages, $368,730 in
                       attorneys’ fees, and $3,109.30 in costs for retaliation claim under the
                       MHRA);

                      Sanders v. Cty of Kansas Cty, Mo., No. 1216CV15963, 2014 WL 2885306
                       (Cir. Ct. of Jackson Cnty., Mo. Feb. 26, 2014) (awarding $90,000 in
                       compensatory damages, and $206,183 in attorneys’ fees and court costs for
                       retaliation claim under the MHRA).

        20.     Reading Plaintiff’s Petition as a whole, this case clearly involves an amount in

controversy exceeding $75,000.00.

                                            Conclusion

        21.     As noted in the paragraphs above, Defendant is properly removing this case to

federal court pursuant to 28 U.S.C. § 1441 because all of the parties are diverse and the amount in

controversy exceeds $75,000.00.

        22.     Under §§ 1332, 1441(a) and 1446(a), and Local Rule 3.2, the United States District

Court for the Western District of Missouri is the appropriate court for removing an action from the

Circuit Court of Jackson County, Missouri, where this action was filed.

        23.     Promptly upon filing this Notice of Removal, Defendant shall give notice in writing

to all parties and shall file a copy of this Notice of Removal with the Clerk of the Circuit Court of

Jackson County, Missouri.

        WHEREFORE, The Cheesecake Factory Restaurants, Inc. gives notice that this action is

removed from the Circuit Court of Jackson County, Missouri to the United States District Court

for the Western District of Missouri.




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                                              Respectfully submitted,

                                              Constangy, Brooks, Smith & Prophete, LLP

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                                              ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on the 2nd day of April, 2021, the foregoing was served on

counsel for Plaintiff via U.S. mail to the following:

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        ATTORNEY FOR PLAINTIFF

                                                            /s/ R. Evan Jarrold
                                                            Attorney for Defendant




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